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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA

STATE OF OKLAHOMA, et al.,

                                 Plaintiffs,
                    v.                              Case No: CIV-21-1069-G


JOSEPH R. BIDEN, JR., in his official capacity as
President of the United States, et al.,


                                 Defendants.




 PLAINTIFFS’ MOTIONS FOR TEMPORARY RESTRAINING ORDER AND
        PRELIMINARY INJUNCTION AND BRIEF IN SUPPORT
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       The contractor mandate unilaterally imposed by President Biden and his

Administration—given in the form of an executive order (“EO”) and elaborated upon by

guidance from an Executive Branch task force—forces federal contractors’ employees to

receive COVID-19 vaccinations. See Exec. Order No. 14042, Ensuring Adequate COVID

Safety Protocols for Federal Contractors, 86 Fed. Reg. 50985 (Sept. 9, 2021) (“EO

14042”); COVID-19 Workplace Safety: Guidance for Federal Contractors and

Subcontractors, SFWTF (Sept. 24, 2021), https://tinyurl.com/sh7j732e. This mandate is a

circuitous pretext to force vaccinations into the bloodstreams of as many unwilling

Americans as possible. It undermines state sovereignty and individual autonomy and

dignity. Its substance and the procedure by which it was adopted lacked congressional

authorization and constitutional basis. Because Plaintiffs have satisfied all the conditions

to obtain a preliminary injunction, this unprecedented and unlawful vaccine mandate

should be enjoined.

                                     BACKGROUND

       On September 9 of this year, President Biden declared his intention to issue an EO

commanding all federal employees and federal contractors’ employees to be vaccinated

against COVID-19. See EO 14042, supra. These employees must comply on pain of losing

their jobs and federal contracts, respectively, if they failed to so obey. See id. Notably, the

contractors’ employees need have nothing whatsoever to do with their employers’ federal

contracts in order to be subject to this mandate. See id. That same day the President also

forced federal employees to get vaccinated, see President Joseph R. Biden, Jr., Remarks by

President Biden on Fighting the COVID-19 Pandemic (Sept. 9, 2021) (transcript available


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at https://tinyurl.com/3ky6c3rt), and would go on to compel employees at large private

businesses to do so as well.

       The President issued this diktat: “If you want to work with the federal government

and do business with us, get vaccinated. If you want to do business with the federal

government, vaccinate your workforce.” Id. In so announcing, the President observed that

around 100 million Americans’ lives and bodies would be affected by these policies. See

id. The President’s motivation for this mandate was undisguised—it had nothing to do with

contracts and everything to do with forcing vaccines into the bodies of unwilling

Americans. See id. The President casually admitted that his “patience” with unvaccinated

Americans was “wearing thin.” Id.

       Then on September 24, the Safer Federal Workforce Task Force (the “SFWTF”)1

issued guidance telling federal agencies how they can implement EO 14042’s contractor

mandate.2 The three co-chairs overseeing the SFWTF are: (1) the Director of the Office of

Personnel Management (“OPM”); (2) the Administrator of the General Services

Administration (“GSA”); and (3) the COVID-19 Response Coordinator. This SFWTF

guidance was never submitted to or published in the Federal Register, so Americans never

got to comment on it. The SFWTF guidance states:

     Covered contractor employees must fully be vaccinated by December 8, 2021.
     “[C]overed contractor employee” includes “employees of covered contractors who
1
 The SFWTF had been established the very first day of the Biden Presidency under
Executive Order No. 13991, Protecting the Federal Workforce and Requiring Mask-
Wearing, 86 Federal Register 7045 (Jan. 20, 2021).
2
 COVID-19 Workplace Safety: Guidance for Federal Contractors and Subcontractors,
SFWTF (Sept. 24, 2021), https://tinyurl.com/sh7j732e.


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        are not themselves working on or in connection with a covered contract”—so long
        as they are situated at the same place. Those employees need not have anything at
        all to do with their employer’s federal government-related functions.
       These requirements are triggered by any new, renewal, or extension of a contract
        and contract-like instrument exceeding $250,000.
       The Federal Acquisition Regulatory Council (“FAR Council”) is required to amend,
        by rulemaking, the Federal Acquisition Regulation (“FAR”) to impose the mandate.
       By October 8, the FAR Council has to create a contract clause for federal agencies
        to use in their contracts with contractors.
       By mid-October, federal agencies are required to use that contract clause in
        solicitations with vendors.
       By no later than November 14, all awarded contracts are required to have that clause.
       Contracts executed between October 15 and November 14 are so encouraged.
       When a contract is awarded before October 15, but “where performance is
        ongoing,” the contract clause must “be incorporated at the point at which an option
        is exercised or an extension is made.”
       The SFWTF’s guidance supersedes all sources of state and local law.

        On September 28, 2021, Acting Office of Management and Budget (“OMB”)

Director, Shalanda D. Young, published a Federal Register notice stating that “compliance

with COVID–19-related safety protocols improves economy and efficiency by reducing

absenteeism and decreasing labor costs for contractors and subcontractors working on or

in connection with a Federal Government contract.”3 But this notice contained no evidence

or information supporting the OMB’s claims or reasons justifying the rejection of any of

the alternatives. Nor did the Acting OMB Director abide by the waiting period or the

notice-and-comment process required by law—or explain why these circumventions might

be warranted. This vaccine mandate applies to Oklahoma because many of its agencies,

instrumentalities, institutions, and entities are federal contractors subject to it.



3
 Determination of the Promotion of Economy and Efficiency in Federal Contracting
Pursuant to Executive Order No. 14042, 86 Fed. Reg. 53691, 53692 (Sept. 28, 2021).


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                                       ARGUMENT

       A temporary restraining order and preliminary injunction should issue if the plaintiff

shows (1) “that he is likely to succeed on the merits,” (2) “that he is likely to suffer

irreparable harm in the absence of preliminary relief,” (3) “that the balance of equities tips

in his favor,” and (4) “that an injunction is in the public interest.” Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008). Here, Plaintiffs amply satisfy each of these prongs.

I.     Oklahoma Has Standing to Sue in Federal Court; and, in the Absence of a
       Preliminary Injunction, Will Suffer Irreparable Harm.

       Oklahoma and her fellow sovereign sister States in the Union are owed “special

solicitude” as far as their standing to sue in federal court is concerned. See Massachusetts

v. EPA, 549 U.S. 497, 520 (2007). A State, furthermore, has standing to assert the legal

rights of its residents against federal incursion under the parens patriae doctrine because

it “has a quasi-sovereign interest in the health and well-being—both physical and

economic—of its residents in general.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel.,

Barez, 458 U.S. 592, 607 (1982). Oklahoma seeks to protect its residents’ health and well-

being from the mandate; thus, the State has ample standing to bring this cause of action.

       A State may sue in federal court in its sovereign capacity when it has suffered an

economic injury or is forced to deploy its resources. Economic harm inflicted on a State by

federal agency action counts as irreparable injury because it cannot be rectified by

monetary remedies, see Dominion Video Satellite, Inc. v. EchoStar Satellite Corp., 269

F.3d 1149, 1156 (10th Cir. 2001); and because the United States retains sovereign

immunity in these circumstances, see United States v. Dalm, 494 U.S. 596, 608 (1990);



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Lehman v. Nakshian, 453 U.S. 156, 160 (1981). Furthermore, a federal agency action’s

interference with the state’s exercise of its sovereign “power to create and enforce a legal

code” or any other violation of its legal rights is also an injury inflicted on the State’s

sovereignty and is irreparable. Snapp, 458 U.S. at 601; see also Wyoming ex rel. Crank v.

United States, 539 F.3d 1236, 1242 (10th Cir. 2008); Deerfield Medical Center v. Deerfield

Beach, 61 F.2d 328, 338 (5th Cir. 1981).

       Oklahoma’s agencies and other state entities are federal contractors on a regular

basis. These federal contracts are worth millions of dollars. To illustrate, the University of

Oklahoma (“OU”) receives around $400 million in federal contractor dollars, and the

Oklahoma State University (“OSU”) receives $90 million in federal contractor dollars.

They cannot survive without this income. And they cannot ensure that all their employees

or even a vast majority will get vaccinated. OU has almost 20,000 employees and OSU has

approximately 14,200 employees.

       Similarly, the Oklahoma Space Industry Development Authority (“OSIDA”), which

has an agreement with the U.S. Department of the Air Force to maintain runways, currently

receives approximately $7.5 million in federal contractor dollars. OSIDA has seven

employees. Moreover, the Oklahoma Conservation Commission (“OCC”) currently

receives more than $5 million in federal contractor dollars from the NRCS; the USFWS;

and the Environmental Protection Agency (“EPA”). The OCC has 54 employees. In

addition, the Oklahoma Student Loan Authority (“OSLA”) currently receives more than

$5 million in federal contractor dollars from ED. OSLA’s employees will be affected by

this vaccine mandate. And the Oklahoma State Department of Health (“OSDH”) currently


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receives up to approximately $2 million in federal contractor dollars from CDC. OSDH

has 2,103 employees. These effects, individually and collectively, injure the State’s

interests. All of these contracts are cyclically renewed.

       As the representative declarations attest and the illustrative exhibits show, all of

Oklahoma’s federal contracts are now on the chopping block due to the vaccine mandate.

See Ex. 1-5. Defendants are coercing Oklahoma to vaccinate not only as a condition of

being eligible for new contracts but also to be eligible for renewals of existing ones. As the

OU President’s letter to his community shows, Oklahoma entities know much too well that

refraining from foisting the vaccine mandate on their employees will cut those state entities

off from being eligible for federal contracts going forward. See Ex. 6.

       This vaccine mandate has put Oklahoma in this untenable and unenviable dilemma.

As already noted, Oklahoma does not demand that anyone be vaccinated from COVID-19

in order to be able to enter its public buildings. See Okla. Admin. Code 1:2021-16 (citing

art. VI, §§ 1 and 2 of Okla. Const.). This, of course, includes most state agencies that are

or could be covered contractors.4 As a result, the vaccine mandate holds a gun to

Oklahoma’s head, forcing it to choose between either amending or breaking state law or

losing millions of federal contractor dollars.

       Needless to say, Oklahoma will also suffer a grievous financial harm because of this

vaccine mandate. About two-thirds of unvaccinated persons are estimated to quit their jobs


4
  This gubernatorial EO does not “apply to employees and buildings of state agencies
primarily involved in medical patient-facing activities including research participant areas
and facilities where patient care is the primary function.” Okla. Admin. Code 1:2021-16.


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if they are forced to take the COVID-19 vaccine.5 And just over half of Oklahoma

residents—50.49%, to be precise—are vaccinated.6 This means that Oklahoma-based

federal contractors, not to mention the State itself, soon will start to hemorrhage their labor

supply on account of this vaccine mandate. This drop of available labor will harm

Oklahoma economically by generating diminished income tax revenues. See Okla. Stat. tit.

68, § 2355(E) (noting that Oklahoma’s new corporate income tax rate is 4 percent) (eff.

Jan. 1, 2022). Since this mandate requires that federal contractors’ employees be vaccinated

by December 8, the irreparable harm to be inflicted on Oklahoma is imminent.

II.    Plaintiffs Are Likely to Succeed on the Merits.

       Plaintiffs are likely to succeed on the merits because the mandate violates several

statutes and constitutional provisions.

       A.      The Vaccine Mandate Violates the Federal Property and Administrative
               Services Act (the “Procurement Act”).

       The first such statute is the Procurement Act. The ostensible “[p]urpose” of this law

was “to provide the Federal Government with an economical and efficient system for”

certain specific procurement activities. 40 U.S.C. § 101. But Congress did not hand the

President a blank check. The Procurement Act confers no authority on the President to

issue binding regulations—he only has the power to “prescribe policies and directives” to



5
 Liz Hamel et al., KFF COVID-19 Vaccine Monitor: September 2021, KAISER FAMILY
FOUNDATION (Sept. 28, 2021), https://tinyurl.com/2rxbdyv5.
6
 Katie Adams, States ranked by percentage of population fully vaccinated, BECKER’S
HOSPITAL REVIEW, https://tinyurl.com/5fssp4dd (last visited Nov. 11, 2021).


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pertinent federal agencies to execute this law. 40 U.S.C. § 121(a). Instead, Congress has

empowered the FAR Council to issue such binding procurement regulations. That group is

vested with the exclusive authority to issue “[g]overnment-wide procurement

regulation[s].” 41 U.S.C. § 1303(a)(1)–(2).

       A federal procurement regulation is invalid unless there is “a nexus between [it] and

some delegation of the requisite legislative authority by Congress;” “the reviewing court

[must] reasonably be able to conclude that the grant of authority contemplates the

regulations issued.” Chrysler Corp. v. Brown, 441 U.S. 281, 304, 308 (1979). No such

nexus exists when such policies are “too attenuated to allow a reviewing court to find the

requisite connection between procurement costs and social objectives.” Liberty Mut. Ins.

Co. v. Friedman, 639 F.2d 164, 171 (4th Cir. 1981). Otherwise, where’s the constitutionally

required (at minimum) “intelligible principle” justifying the regulation? Mistretta v. United

States, 488 U.S. 361, 372 (1989) (quoting J. W. Hampton, Jr., & Co. v. United States, 276

U.S. 394, 409 (1928)). Critically, no such intelligible principle-type nexus exists when

these policies are imposed on those who have “no direct connection to federal

procurement.” Liberty Mut. Ins. Co., 639 F.2d at 171–72.

       Additionally, the Procurement Act’s providing the federal government with an

“economic and efficient system for” procurement is not a sweeping delegation to the

Executive for a breathtakingly broad coast-to-coast mandate. To this end, for decades now

the Supreme Court has applied the Major Questions Doctrine canon of statutory

interpretation, one with deep constitutional underpinnings. Premised on the separation of

powers, this doctrine means that Congress will not be deemed to have implicitly delegated


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questions of “deep economic and political significance” to the Executive Branch. Paul v.

United States, 140 S. Ct. 342 (2019) (Kavanaugh, J., respecting denial of certiorari); King

v. Burwell, 576 U.S. 473, 486 (2015). Congress is “expect[ed]” to “speak clearly when

authorizing an agency to exercise powers of ‘vast economic and political significance.’”

Ala. Ass’n of Realtors v. Dep’t of Health & Human Servs., 141 S. Ct. 2485, 2489 (2021)

(quoting Utility Air Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014)).

       This principle has additional weight when Congress is “intrud[ing] into an area that

is the particular domain of state law.” Ala. Ass’n of Realtors, 141 S. Ct. at 2489; ANTONIN

SCALIA & BRYAN A. GARNER, READING LAW 290–94 (2012). The Supreme Court

“require[s] Congress to enact exceedingly clear language if it wishes to significantly alter

the balance between federal and state power and the power of the Government over private

property.” Ala. Ass’n of Realtors, 141 S. Ct. at 2489 (cleaned up).

       Nothing in the Procurement Act provides the President with the authority to impose

this mandate. It is also clear that no nexus connects this vaccine mandate and the

Procurement Act’s purpose of providing an “economical and efficient system” of

procurement through specifically enumerated means. 40 U.S.C. § 101. Because “[n]o

[statutory] text pursues its purpose at all costs,” purpose is a thin reed on which to base

such a claim. SCALIA & GARNER, supra, at 57. And because it is geared towards specific

procurement activities inapplicable here, it gives Defendants nothing. Had Congress

afforded the Executive discretion to decide which vaccinations for what malaises should

be compulsory, then Congress would have so stated in its operative provisions. But it has

done no such thing.


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       On the other side of the ledger, a vaccine mandate on such a wide swath of the

national economy—one-fourth—is a profound question of deep economic and political

significance. This matter goes to the heart of individual dignity and liberty concerning

bodily integrity and the constitutional right to decline even life-saving treatment. Cruzan

by Cruzan v. Dir., Mo. Dep’t of Health, 497 U.S. 261, 278 (1990). In addition, the vaccine

mandate will inflict a deleterious impact on our national economy, efficiency, and culture

because it will cause a mass exodus of employees. This mandate implicates transformative

applications of economics, politics, epidemiology, and law. The mandate also undermines

the sovereignty and police powers of Oklahoma by undoing its policy choice not to impose

a vaccine mandate. Does anyone really think Congress furtively signed off on all this?

       In order to deem this mandate to be a Procurement Act delegation, this Court would

have to run roughshod over the presumption that Congress speaks clearly when it permits

changes to the federal-state balance, see Atascadero State Hosp. v. Scanlon, 473 U.S. 234,

242 (1985); when it “alter[s] the fundamental details of a [legal] scheme” by permitting the

Executive to condition federal contracts on private parties’ getting vaccinated, Whitman v.

American Trucking Ass’ns, 531 U.S. 457, 468 (2001); or when it concerns massive changes

to the lives of Americans, see FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120,

160 (2000).

       No one has ever deemed the Procurement Act to be a carte blanche to the Executive

until the possibility of this mandate entered the current Executive’s selective zeitgeist. That

is just as well because the words of a law “mean what they conveyed to reasonable people

at the time they were written”—its ordinary, contemporary meaning—not what they ought


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to have said in light of present concerns. SCALIA & GARNER, supra, at 16; see also Sandifer

v. U.S. Steel Corp., 571 U.S. 220, 227 (2014).

       Context too bears out this inference regarding the Procurement Act’s scope.

Congress has shown itself adept at giving the Executive public-health authority in other

circumstances. See, e.g., 42 U.S.C. §§ 265, 268 (giving the Centers for Disease Control

and Prevention (“CDC”) Director wide discretion to prohibit “introduction of persons and

property from [certain] countries or places as he shall designate”). But the Procurement

Act gives the President no such authority. And “[n]othing prevents the President from

returning to Congress to seek the authority he believes necessary.” Hamdan v. Rumsfeld,

548 U.S. 557, 636 (2006) (Breyer, J., concurring).

       Another contextual clue: Congress would be most “unlikely” to “have delegated this

decision to” the SFWTF, which lacks “expertise in crafting” sensible rules “of this sort” in

the absence of clear statutory guidance. King, 576 U.S. at 486 (citing Gonzales v. Oregon,

546 U.S. 243, 266–67 (2006)). True, the SFWTF includes the CDC, but it is unclear what

the CDC would know about the subject matter of mandating vaccines. Surely, it knew little

about eviction moratoria; and even that stratagem did not work with the Supreme Court.

See Ala. Ass’n of Realtors, 141 S. Ct. 2485. And this vaccine mandate is not, in any event,

a delegation to the CDC; it is a delegation to a broader group with complex dynamics that

are not necessarily cohesive. After all, the SFWTF also contains agencies that have no

special expertise whatsoever about vaccine mandates. And Congress never made or

countenanced a delegation to them about vaccine mandates.

       Common sense too militates against reading too much into the Procurement Act.


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Let’s remember it is a procurement statute whose meaning this Court is called upon to

expound. Lest it be forgotten, the proper name of this statute is the Federal Property and

Administrative Services Act. That does not sound like a statute Congress intended to allow

anyone in the federal government to mandate anything on any Americans merely because

they work in the same office as a federal contractor. It is merely an operational statute about

the federal government’s buying goods and services to keep itself running. As the Supreme

Court has acknowledged, “the title of a statute” is a “tool[] available for the resolution of a

doubt about the meaning of a statute.” Almendarez-Torres v. United States, 523 U.S. 224,

234 (1998) (cleaned up). And nothing about “Federal Property and Administrative Services

Act” even whispers public-health mandate. A rational Congress would not absentmindedly

have snuck vaccine mandate authority into the law. See Transamerica Mortg. Advisors,

Inc. v. Lewis, 444 U.S. 11, 20 (1979).

       A court, consequently, should resist presuming that Congress somehow snuck into

this procurement law a major delegation to the Executive to mandate a large group of

Americans to get vaccinated as a condition for keeping their jobs. Look no further than the

present Administration’s course of dealing. For the longest time, the Administration

resisted the notion of issuing a vaccine mandate,7 presumably because it knew that it had

no such authority. But now Defendants’ vaccine-mandate plan has become all-




7
 Jen Psaki, White House Press Sec’y, Press Briefing in the White House Press Briefing
Room (July 23, 2021), https://tinyurl.com/52ru4fut; Jacob Jarvis, Fact Check: Did Joe
Biden Reject Idea of Mandatory Vaccines in December 2020?, NEWSWEEK (Sept. 10,
2021), https://tinyurl.com/37z7p8y5.


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encompassing. The rub is that “[w]hen an agency claims to discover in a long-extant statute

an unheralded power to regulate a significant portion of the American economy, [courts]

typically greet its announcement with a measure of skepticism.” Utility Air Regulatory

Grp., 573 U.S. at 324 (cleaned up). Defendants’ imaginative lawmaking is unpersuasive.

       Nothing in the Procurement Act allows the President to exercise such sweeping

authority. This mandate claims to “derive[] its authority from an old statute employed in a

novel manner, imposes ... [m]illion[s] in compliance costs, involves broad medical

considerations that lie outside of [the FAR Council’s] core competencies, and purports to

definitively resolve one of today’s most hotly debated political issues.” BST Holdings, LLC

v. OSHA, No. 21-60845, 2021 WL 5279381, at *8 (5th Cir. Nov. 12, 2021). It

conspicuously fails the straight-face test. Such concentration of power violates our

Republic’s “proud boast” that we live under “a government of laws, and not of men.”

Morrison v. Olson, 487 U.S. 654, 697 (1988) (Scalia, J., dissenting) (cleaned up).

Defendants’ vaccine mandate violates the Procurement Act.

       B.      The Mandate Violates the Office of Federal Procurement Policy Act
               (“Procurement Policy Act”)

       As noted above, the vaccine mandate violates the Procurement Act. But if the

mandate is permitted under the Procurement Act, then it violates the Procurement Policy

Act, which requires that a “procurement policy, regulation, procedure, or form” be subject

to a 60-day notice-and-comment process, if it—“(A) relates to the expenditure of

appropriated funds; and (B)(i) has a significant effect beyond the internal operating

procedures of the agency issuing the policy, regulation, procedure, or form; or (ii) has a


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significant cost or administrative impact on contractors or offerors.” 41 U.S.C. § 1707(a)–

(b). This requirement may be waived if the federal government can demonstrate that

“urgent and compelling circumstances make [notice-and-comment] compliance …

impracticable,” id. § 1707(d). Waived by whom? “[B]y the officer authorized to issue a

procurement policy, regulation, procedure, or form if urgent and compelling circumstances

make compliance with the requirements impracticable.” Id.

       This mandate is a procurement “policy” and a procurement “procedure” under

§ 1707(a). It satisfies each of the conditions set forth by the Procurement Policy Act. See

id. § 1707(a)–(b). Not only does this mandate concern the expenditure of funds Congress

has appropriated for particular objectives, it fully reshuffles SFWTF’s internal operating

procedures and has an enormous impact on the national economy; and this mandate

imposes great monetary and administrative costs on everyone subject to it.

       Defendants failed to publish their mandate for public comment in the Federal

Register in violation of 41 U.S.C. § 1707. Nor did Defendants provide the required 60-day

comment period before the vaccine mandate became effective either. See id. Not a single

authorized officer from the OMB, FAR Council, or any federal entity ever waived the

Procurement Policy Act’s requirements insofar as this mandate is concerned prior to its

issue. The conclusion, then, is inescapable: When issuing the vaccine mandate, Defendants

did not conform to the Procurement Policy Act’s rigorous requirements. That deficiency

renders this mandate facially invalid under 41 U.S.C. § 1707.




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       C.      The Mandate Violates the Administrative Procedure Act (“APA”).

       Defendants have also violated the APA, in two ways. First, under the APA, a court

is required to “hold unlawful and set aside agency action” that is “not in accordance with

law” or “in excess of statutory … authority, or limitations, or short of statutory right.” 5

U.S.C. § 706(2)(A), (C). As discussed, Defendants’ vaccine mandate exceeds the bounds

set by Congress in the Procurement Act and the Procurement Policy Act.

       Defendants’ vaccine mandate, specifically the OMB rule, is unlawful for at least

two further reasons. That rule violates 41 U.S.C. § 1303(a) because only the FAR Council

may issue such government-wide procurement regulations. See Centralizing Border

Control Policy Under the Supervision of the Attorney General, 26 Op. OLC 22, 23 (2002)

(“Congress may prescribe that a particular executive function may be performed only by a

designated official within the Executive Branch, and not by the President.”). In addition,

the President is not permitted to issue procurement orders that have the force or effect of

law, see 40 U.S.C. § 121(a), even though he may direct procurement operations.

       Defendants, therefore, have “gone beyond what Congress has permitted [them] to

do.” City of Arlington v. FCC, 569 U.S. 290, 298 (2013). And that’s important because

federal agencies are creatures of the congressional will and “literally ha[ve] no power to

act … unless and until Congress confers power upon [them]”—and only to that limited

extent. La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986). Neither more nor less.

       The mandate was issued, it is clear, without congressional authorization. Indeed, as

Justice Breyer once said, “judicial insistence upon that [Executive] consultation [with

Congress] [would] not weaken our Nation’s ability to deal with danger” or challenges.


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Hamdan, 548 U.S. at 636 (concurring opinion). Therefore, this mandate is not in

accordance with law and exceeds the authority granted to the Executive Branch by

Congress. It thus violates the APA.

       The vaccine mandate violates the APA in a second respect as well. Under the APA,

a court must “hold unlawful and set aside agency action” that is “arbitrary [or] capricious.”

5 U.S.C. § 706(2)(A). This policy is arbitrary and capricious for several reasons, including

because it ignores the costs to the States, a “centrally relevant factor when deciding whether

to regulate.” Michigan v. EPA, 576 U.S. 743, 752–53 (2015). Neither this mandate nor its

administrative record even mentions the harm it might cause States or private persons.

       Defendants’ omissions run deeper. They have failed to explain their departure from

prior practice; and such an “unexplained inconsistency” is impermissible under the APA.

Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 981 (2005).

Although “[a]n initial agency interpretation is not instantly carved in stone,” it is equally

true that an “agency ... must consider varying interpretations and the wisdom of its policy

on a continuing basis,” be it “in response to changed factual circumstances, or a change in

administrations.” Id. at 981 (cleaned up). Furthermore, neither the mandate’s text nor its

administrative record “makes [any] serious attempt to explain why [the Administration]

and the President himself were against vaccine mandates before they were for one here.”

BST Holdings, 2021 WL 5279381, at *5 (footnote omitted). Nor have Defendants

accounted for Oklahoma’s sovereignty, laws, reliance interests, and other pertinent factors

or considered lesser alternatives, thereby rendering this mandate arbitrary and capricious.

See DHS v. Regents of Univ. of Cal., 140 S. Ct. 1891, 1913 (2020).


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       Additional considerations compel the same conclusion. As an initial matter,

Defendants have failed to consider the mass exodus of unvaccinated employees of federal

contractors in our current economy that is already facing a vast labor shortage, inflation,

and supply-chain challenges. What is more, Defendants have failed to consider the legal

and factual assertions made in this Motion, the preceding Complaint, and in the parallel

lawsuits challenging this mandate. Defendants have also failed to exempt those who have

a natural immunity to COVID-19. And Defendants have failed to exempt those who work

in their own homes or other venues that render them unlikely to catch or spread COVID-19.

Consequently, this mandate is arbitrary and capricious under the APA.

       D.      The Mandate Contravenes the Tenth Amendment and Other
               Federalism Provisions in the Constitution.

       This mandate also violates the Constitution. For example, an axiom undergirding

our constitutional structure is that the federal government is one of limited powers and does

not get to control all aspects of our lives: “our Constitution establishes a system of dual

sovereignty between the States and the Federal Government.” Gregory v. Ashcroft, 501

U.S. 452, 457 (1991); see also THE FEDERALIST No. 47, at 298 (James Madison) (Clinton

Rossiter ed., 2003). “[A]llocation of powers in our federal system preserves the integrity,

dignity, and residual sovereignty of the States … in part, [as] an end in itself, to ensure that

States function as political entities in their own right.” Bond v. United States, 564 U.S. 211,

221 (2011).

       That’s where the Tenth Amendment, which protects the States’ “residuary and

inviolable sovereignty,” THE FEDERALIST No. 45, at 289 (James Madison) (Clinton


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Rossiter ed., 2003), comes in. “The powers reserved to the several States,” it was

understood at the Founding, “will extend to all the objects … concern[ing] the lives,

liberties, and properties of the people, and the internal order, improvement, and prosperity

of the State.” THE FEDERALIST No. 45, at 45. This “inherent[ly]” includes the States’ police

powers, United States v. Constantine, 296 U.S. 287, 295–96 (1935)—and is separate and

apart from anything within federal control. The police power, encompassing public health,

safety, and morals, is the “power which the state did not surrender when becoming a

member of the Union under the Constitution.” Jacobson v. Massachusetts, 197 U.S. 11,

24–25 (1905); see also Printz v. United States, 521 U.S. 898, 919 (1997).

       If there is any power to mandate vaccinations, it belongs only to the State. See, e.g.,

Zucht v. King, 260 U.S. 174, 176 (1922); BST Holdings, 2021 WL 5279381, at *7.

Furthermore, Jacobson, which upheld compulsory vaccinations, was explicitly predicated

on the Massachusetts law’s being an exercise of State police powers. 197 U.S. at 25 (“[T]he

police power of a state must be held to embrace, at least, such reasonable regulations

established directly by legislative enactment as will protect the public health and the public

safety.”). Long ago, this federalism debate as to vaccinations and other public-health

policies was settled in the State’s favor.

       Just one serious question remains: Does the President have the unilateral executive

power granted in Article II of the Constitution to issue a vaccine mandate like the one at

issue here amidst a pandemic? This question was resolved certainly no later than in the

Steel Seizure Cases. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952).

The source of that power must either come from the U.S. Constitution Article II, Section 1,


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or be altogether absent. For our purposes, Youngstown is dispositive. In Youngstown,

amidst a martial conflict, the Supreme Court invalidated President Truman’s unilateral

effort to seize steel mills in order to ramp up steel production during wartime. 343 U.S.

579. The President’s failure to seek congressional authorization proved fatal to his cause

and indispensable to the separation of powers. See id.

       Issuing vaccine mandates falls well outside the President’s limited Article II

preserve. Conducting foreign policy and advancing national security are part of the

President’s residual executive power—because in those spheres, he speaks for the Nation

in one voice and must do so with “activity, secrecy, and dispatch,” traits that derive from

the Executive’s “unity,” THE FEDERALIST No. 70, at 472 (Alexander Hamilton) (J. Cooke

ed. 1961)—but issuing a vaccine mandate by trampling on State police powers, individual

autonomy, and the constitutional functions of Congress certainly is not. See Zivotofsky ex

rel. Zivotofsky v. Kerry, 576 U.S. 1, 14–15 (2015); American Ins. Assn. v. Garamendi, 539

U.S. 396, 424 (2003); Hamdi v. Rumsfeld, 542 U.S. 507, 580 (2004) (Thomas, J.,

dissenting); Saikrishna B. Prakash & Michael D. Ramsey, The Executive Power Over

Foreign Affairs, 111 Yale L.J. 231, 252–65 (2001). This also means, for our purposes, that

law-making is exclusively a congressional preserve. See Youngstown, 343 U.S. at 589. The

President has no unilateral power under Article II to issue a vaccine mandate. This mandate

also violates the Tenth Amendment and the Constitution’s federalism principles.

       In addition, this mandate exceeds the federal government’s Commerce Clause

authority, see U.S. Constitution, Article I, Section 8, Clause 3, because, under National

Federation of Independent Business v. Sebelius, 567 U.S. 519 (2012), and United States v.


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Lopez, 514 U.S. 549, 558–59 (1995), the subject matter of this mandate is neither the

“channel[] of interstate commerce;” nor is it the “instrumentalit[y] of interstate commerce,

[n]or [does it concern] persons or things in interstate commerce;” nor still does it have “a

substantial relation to interstate commerce.” “A person’s choice to remain unvaccinated

and forgo regular testing” is not an economic activity in the Commerce Clause sense, BST

Holdings, 2021 WL 5279381, at *7—any more than buying health insurance was so in

Sebelius, 567 U.S. at 558, or having guns near schools was so in Lopez, 514 U.S. at 567.

       This mandate also forces Oklahoma and her sister States to spend precious state

resources to be eligible for federal contracts. The federal government is commandeering

Oklahoma’s means and apparatus to achieve its own policy ends—in contravention of the

anti-commandeering principle undergirding the Tenth Amendment. See New York v.

United States, 505 U.S. 144 (1992). And Defendants know that Oklahoma has no real

choice in the matter—being forced to choose between sustaining its economy and the

livelihoods of its residents or obeying its laws—which renders this mandate

unconstitutionally coercive. Consequently, Defendants’ vaccine mandate exceeds all

limitations on federal power and unconstitutionally commandeers Oklahoma’s resources.

       E.      The Vaccine Mandate Violates the Constitution’s Non-Delegation
               Principle.

       The mandate also runs afoul of the separation of powers, which does not permit

Congress to delegate the momentous question of vaccine mandate to the Executive. The

Supreme Court has held that “Congress” may not “abdicate or … transfer to others the

essential legislative functions with which it is thus vested.” A.L.A. Schechter Poultry Corp.


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v. United States, 295 U.S. 495, 529–30 (1935). Even with legislative acquiescence, the

Executive may not act unilaterally in this space. See Paul, 140 S. Ct. 342 (Kavanaugh, J.,

respecting denial of certiorari); Gundy v. United States, 139 S. Ct. 2116, 2131 (2019)

(Alito, J., concurring in judgment); id. (Gorsuch, J., dissenting).

       The delegation here fails because it is neither intelligible nor permissible, as

Congress simply cannot delegate away its own powers on an issue as significant as a

vaccine mandate, and certainly not through the generalized delegation upon which

Defendants rely. Furthermore, under our separation of powers, Congress categorically

lacks the authority to delegate to other entities lawmaking functions.

       F.      The Vaccine Mandate is an Unreasonable Search and Seizure Under the
               Fourth Amendment.

       The Fourth Amendment forbids “unreasonable searches and seizures” by the

government. The Supreme Court reaffirmed just last Term that “the ‘seizure’ of a ‘person’”

may “take the form of … a ‘show of authority’ that ‘in some way restrain[s] the liberty’ of

the person.” Torres v. Madrid, 141 S. Ct. 989, 995 (2021) (quoting Terry v. Ohio, 392 U.S.

1, 19 n.16 (1968)). Forcible vaccinations have been treated as “search[es] and seizure[s]”

for the Fourth Amendment purposes. See, e.g., B.A.B., Jr. v. Board of Educ. of City of St.

Louis, 698 F.3d 1037, 1039–40 (8th Cir. 2012) (rejecting Fourth Amendment claim on

other grounds).

       A “compelled intrusio[n] into the body,” Schmerber v. California, 384 U.S. 757,

767–68 (1966), one “penetrating beneath the skin, infringes an expectation of privacy that

society is prepared to recognize as reasonable” under the Fourth Amendment, Skinner v.


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Railway Labor Executives’ Association, 489 U.S. 602, 616 (1989). Such seizures

“implicate[] privacy interests” and “concern[] … bodily integrity.” Id. at 616–17. Here, we

are not just talking about beneath-the-skin penetration but about into-the-bloodstream

intrusion. A fortiori, the search and seizure here is unreasonable and unconstitutional.

       A private entity “that complies with [the governmental demands of seizing the

person of that entity’s employee] does so by compulsion of sovereign authority, and the

lawfulness of its acts is controlled by the Fourth Amendment.” Id. at 614. That is never

truer than when the government “encourage[s], endorse[s], and participat[es]” in the

seizure. Id. at 615–16. This principle holds true when the government sets unconstitutional

conditions to the enjoyment of a benefit. “[T]he unconstitutional conditions doctrine

forbids burdening the Constitution’s enumerated rights by coercively withholding benefits

from those who exercise them.” Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S.

595, 606 (2013); see also Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547

U.S. 47, 59 (2006) (“FAIR”). In essence, the government “may not deny a benefit to a

person on a basis that infringes his constitutionally protected [right] even if he has no

entitlement to that benefit.” Bd. of Comm’rs, Wabaunsee Cty. v. Umbehr, 518 U.S. 668,

674 (1996) (cleaned up).

       The vaccine mandate is an unconstitutional search and seizure of the person under

the Fourth Amendment. In its search and seizure of unvaccinated workers, it restrains the

liberty of the person. See Torres, 141 S. Ct. at 995; Terry, 392 U.S. at 19 n.16. This mandate

forcibly intrudes into the physical person of the federal contractor’s employee; it penetrates

into her bloodstream. See Skinner, 489 U.S. at 616. This intrusion violates the person’s


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privacy and bodily integrity. Society clearly recognizes the right to avoid such a compelled

intrusion as reasonable. See California v. Greenwood, 486 U.S. 35, 43 (1988); United

States v. Jacobsen, 466 U.S. 109, 113 (1984).

       The federal government invokes its “sovereign authority” to impose this

unconstitutional seizure on the federal contractor’s employees, Skinner, 489 U.S. at 616,

because it “encourage[s], endorse[s], and participat[es]” in this seizure of the individual,

id. at 615–16. Through this mandate, it also sets unconstitutional conditions on the

contractor employees’ ability to stay employed. See FAIR, 547 U.S. at 59. It is immaterial

whether those employees had any legal right to such employment in the first place. See

Umbehr, 518 U.S. at 674. As a result, the mandate violates the Fourth Amendment.

       G.      The Mandate Violates the President’s Obligation to Faithfully Enforce
               the Laws Congress Has Enacted Under the Separation of Powers and
               the Take Care Clause of the U.S. Constitution.

       The mandate also violates other constitutional provisions. Even before our

Founding, colonists were troubled by the British Crown’s proclivity to neglect enforcing

laws that the Crown did not like as well as to claim authority that the Parliament never had

committed to the Crown. See Michael W. McConnell, The President Who Would Not Be

King: Executive Power under the Constitution 118 (2020). Known as the “dispensing

power,” it deeply offended adherents of the rule of law as well as everyday colonists. By

enshrining the separation of powers in the Constitution, the Framers repudiated any miasma

of the dispensing power. Moreover, the Constitution’s requirement that the President must

“‘take care that the laws be faithfully executed’ … means that the president is not permitted



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to dispense with or suspend statutes.” Texas v. United States, 524 F. Supp. 3d 598, 649

(S.D. Tex. 2021) (quoting Michael Stokes Paulsen, et al., The Constitution of the United

States 317 (Robert C. Clark et al. eds., 2d ed. 2013)); see also U.S. Const. Art. II, § 3.

       Numerous opinions of the Supreme Court and statements by individual Justices so

reflect. See, e.g., Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2228

(2020) (Kagan, J., concurring in part) (“[T]he provision—‘he shall take Care that the Laws

be faithfully executed’—speaks of duty, not power.”); United States v. Valenzuela-Bernal,

458 U.S. 858, 863 (1982) (“The Constitution imposes on the President the duty to take

Care that the Laws be faithfully executed.”) (cleaned up); Myers v. United States, 272 U.S.

52, 117 (1926) (noting Presidential “duty expressly declared in the third section of the

article to take care that the laws be faithfully executed.”) (cleaned up).

       The President and his Administration are obligated to comply with the federal

procurement statutes as well as the APA. By acting well outside the scope of their statutory

authority, Defendants are violating the separation of powers and the Take Care Clause.

                                          *   *    *

       Plaintiffs are more than likely to succeed on the merits of their Complaint.

III.   The Balance of the Equities as well as the Public Interest Counsel in Favor of
       Preliminary Injunction Here.

       Both the equities and the public interest favor an injunction here. “Forcing federal

agencies to comply with the law is undoubtedly in the public interest,” Cent. United Life,

Inc. v. Burwell, 128 F. Supp. 3d 321, 330 (D.D.C. 2015); see also Pac. Rivers Council v.

Thomas, 30 F.3d 1050, 1057 (9th Cir. 1994), even amidst COVID-19. For “even in a



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pandemic, the Constitution [and laws] cannot be put away and forgotten.” Roman Catholic

Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 68 (2020). Additionally, “[t]he effect on the

health of the local economy is a proper consideration in the public interest analysis.” All.

for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1138 (9th Cir. 2011). It also is “against the

public interest to force a person out of a job.” Vencor, Inc. v. Webb, 829 F. Supp. 244, 251

(N.D. Ill. 1993). And enabling a State to “implement[]” its “duly enacted state statute” is a

public interest of the highest order. Planned Parenthood Ark. & E. Okla. v. Jegley, 864

F.3d 953, 957–58 (8th Cir. 2017).

IV.    Under Rule 65, No Bond Should Be Required Here.

       Under Fed. R. Civ. P. 65(c), “[t]he court may issue a preliminary injunction or a

temporary restraining order only if the movant gives security in an amount that the court

considers proper to pay the costs and damages sustained by any party found to have been

wrongfully enjoined or restrained.” A trial court has “wide discretion under Rule 65(c) in

determining whether to require security.” Winnebago Tribe of Neb. v. Stovall, 341 F.3d

1202, 1206 (10th Cir. 2003) (cleaned up). No bond should be required here.

                                      CONCLUSION

       The Court should temporarily restrain and preliminarily enjoin Defendants from

enforcing, implementing, or giving any effect to EO 14042, the OMB rule, or FAR Council

guidance in Oklahoma.




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                                         Respectfully submitted,
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